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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

JANE DOE, et al.,

                        Plaintiffs,

v.
                                                         Case No.: 1:25-cv-00286
JAMES R. MCHENRY III, in his official
capacity as Acting Attorney General of the
United States; WILLIAM LOTHROP, in his
official capacity as Acting Director of the
Federal Bureau of Prisons,

                        Defendants.


             PLAINTIFFS’ MOTION TO PROCEED UNDER PSEUDONYMS

        Plaintiffs, by and through their attorneys, hereby seek authorization to proceed under

pseudonyms in the above-captioned matter. In light of their status as incarcerated transgender

women, the importance of sensitive medical information in this case, and the salience of this

issue in the news media, Plaintiffs are concerned about the social stigmatization, harassment,

retaliation, discrimination, and potential violence they may experience from others, including

those in and out of prison, that could cause them physical (including sexual) and/or mental harm

if their identities are disclosed to the public. Plaintiffs thus respectfully request that this Court

grant Plaintiffs’ motion to proceed under a pseudonym.


Dated: January 30, 2025
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